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   6   and Alexander Marine Co., Ltd.
   7
   8                          UNITED STATES DISTRICT COURT
   9
               CENTRAL DISTRICT OF CALIFORNIA – SOUTHERN DIVISION
 10
 11
                                     )                Case No. SACV12-1994 DOC(ANx)
 12    DAVID PARKER and BIG BIRD     )
       HOLDINGS, LLC,                )
 13                                  )                REPLY IN SUPPORT OF MOTION
                 Plaintiffs,         )                FOR SUMMARY JUDGMENT
 14                                  )
                                     )                Date:      June 2, 2014
 15    v.                            )                Time:      8:30 a.m.
                                     )                Courtroom: 9D
 16                                  )

 17    ALEXANDER MARlNE CO., LTD, ))
       OCEAN ALEXANDER MARINE        )
 18    CENTER, INC. , OCEAN          )
       ALEXANDER SERVICES, L. L. C., )
 19    and OCEAN ALEXANDER MARINE )
       YACHT SALES, INC.             )
                                     )
 20                   Defendants.
 21
 22
 23    1.     Plaintiffs’ Opposition Fails to Raise Any Questions of Fact
 24           In Opposition to the pending Motion, Plaintiffs now assert that (a) there is an
 25    issue of Ocean Alexander Marine Yacht Sales, Inc. (“OAMYS”) having alter ego
 26    liability, and (b) there are issues of OAMYS having liability for having adopted the
 27    warranty of the manufacturer, Alexander Marine Co., Ltd. (“Alexander Marine”).
 28    As explained below, each of the assertions of the Plaintiffs fail.
                                                           REPLY IN SUPPORT OF DEFENDANT’S
       REPLY MSJ                                -1-
                                                            MOTION FOR SUMMARY JUDGMENT
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   1   2.     There is No Evidence to Support a Claim of Alter Ego
   2          Plaintiffs completely ignore the applicable law when they assert that there is
   3   an issue of material fact relating to OAMYS having alter ego liability. The facts set
   4   forth in the Declaration of Johnny Chueh show that there is no common ownership
   5   controlling both entities. They now seek to challenge this by asking the Court to
   6   assume a negative without any evidence -- Plaintiffs ask the Court to assume that
   7   Mr. Chueh may control the entity that is the largest shareholder of Alexander
   8   Marine Co., Ltd. There is no evidence to support this proposition and this case has
   9   been pending for well over a year.
 10           As the Court noted in Calvert v. Huckins (E.D. Cal. 1995) 875 F.Supp. 674,
 11    678,
 12                 “‘There is a presumption of corporate separateness that
 13                 must be overcome by clear evidence that the parent in
 14                 fact controls the activities of the subsidiary.’ Escude
 15                 Cruz v. Ortho Pharmaceutical Corp., 619 F.2d 902, 905
 16                 (1st Cir.1980); accord Ryder Truck Rental, Inc. v. Acton
 17                 Foodservices Corp., 554 F.Supp. 277, 279
 18                 (C.D.Cal.1983).”
 19           More importantly, Plaintiffs offer no evidence to support the second required
 20    element which is necessary in order to prove alter ego. The second required
 21    element to prove alter ego is that there “must be an inequitable result if the acts in
 22    question are treated as those of the corporation alone.” (Sonora Diamond Corp. v.
 23    Superior Court (2000) 83 Cal.App.4th 523, 538.
 24           The alter ego doctrine does not guard every unsatisfied creditor
 25           of a corporation but instead affords protection where some
 26           conduct amounting to bad faith makes it inequitable for the
 27           corporate owner to hide behind the corporate form. Difficulty in
 28           enforcing a judgment or collecting a debt does not satisfy this
                                                          REPLY IN SUPPORT OF DEFENDANT’S
       REPLY MSJ                                 -2-
                                                           MOTION FOR SUMMARY JUDGMENT
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   1          standard. (Associated Vendors, Inc. v. Oakland Meat Co.,
   2          supra, 210 Cal.App.2d at p. 842, 26 Cal.Rptr. 806; Alberto v.
   3          Diversified Group, Inc., supra, 55 F.3d at p. 207; Lowell Staats
   4          Mining Co., Inc. v. Pioneer Uravan Inc. (10th Cir.1989) 878
   5          F.2d 1259.) Id.
   6          There no facts set forth to contradict the fact that Alexander Marine Co., Ltd.
   7   is a healthy ongoing entity that is still manufacturing and selling yachts and timely
   8   paying its bills. As a result, even if the first element could be satisfied here, there is
   9   no showing of an inequitable result.
 10    3.     OAMYS Has No Liability Under Alexander Marine’s Warranty
 11           For the first time, Plaintiffs are now asserting that (a) OAMYS “adopted” the
 12    warranty of Alexander Marine Co., Ltd. and/or (b) has liability as a distributor of
 13    yachts. Each of these claims is unsupported by any evidence and must fail.
 14           As a result of Plaintiffs’ unilateral interpretation of emails between the
 15    parties, it is attempting to convince this Court that OAMYS adopted and enforced
 16    warranties in connection with the subject yacht. There are undisputed facts to show
 17    that the yacht was purchased when new from Orange Coast Yachts in Newport
 18    Beach, California. There are no facts set forth the show that Plaintiffs ever
 19    contacted OAMYS with respect the warranty or for any other purpose. There is no
 20    dispute that Mr. Parker contacted the factory to place to warranty claim and that he
 21    did so by contacted Johnny Chueh. Mr. Chueh responded for the factory and
 22    discussed the specific design elements and
 23           The second new claim of Plaintiffs is that OAMYS is liable as a distributor
 24    of the subject yacht. The fundamental problem with this claim is that OAMYS was
 25    not involved in the importation, distribution or sale of the subject yacht. As such, it
 26    cannot be held liable for distribution of a yacht that it did not distribute. Under
 27    Plaintiff’s theory, a Ford car dealer in Seattle can be held liable for a Ford car sold
 28    in Newport Beach by an unrelated distributor.
                                                           REPLY IN SUPPORT OF DEFENDANT’S
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   1            California Civil Code § 1792.2 (a) provides:
   2            Every sale of consumer goods that are sold at retail in this state
   3            by a retailer or distributor who has reason to know at the time
   4            of the retail sale that the goods are required for a particular
   5            purpose, and that the buyer is relying on the retailer's or
   6            distributor's skill or judgment to select or furnish suitable goods
   7            shall be accompanied by such retailer's or distributor's implied
   8            warranty that the goods are fit for that purpose.
   9            The mere fact that OAMYS was a dealer of Alexander Marine Co., Ltd.
 10    yachts in Seattle at the time that the yacht was sold by another dealer in Newport
 11    Beach, does not make OAMYS liable as a distributor of the yachts. Since the
 12    yachts was not purchased from OAMYS, there was no possibility and there is no
 13    evidence to support any claim that Plaintiffs relied upon OAMYS’ skill or
 14    judgment to select the correct yacht for them. Thus, there is no warranty to enforce
 15    against OAMYS.
 16    4.       Conclusion
 17             For each of the foregoing reasons, it is respectfully requested that Defendant
 18    has met its burden of proof i in connection with the Motion for Summary Judgment.
 19    There are no material issues of disputed facts in connection with any claim of
 20    liability against OAMYS.
 21    Dated: May 19, 2014                                            ROSENBERG & KOFFMAN
 22
 23                                                          By:      /s/Ronald G. Rosenberg
                                                                      Ronald G. Rosenberg
 24                                                                   Attorneys for Defendants,
 25                                                                   Ocean Alexander Marine Yacht
                                                                      Sales, Inc. and Alexander Marine
 26                                                                   Co. Ltd.
 27    i
        Plaintiffs objected to the Declarations filed in support of the Motion, but also substantively responded. Defendant
       has now cured the evidentiary issue relating to the Declarations. No prejudice is being suffered by Plaintiffs.
 28
                                                                            REPLY IN SUPPORT OF DEFENDANT’S
       REPLY MSJ                                               -4-
                                                                             MOTION FOR SUMMARY JUDGMENT
